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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED sTATEs oF AMERICA
CRIMINAL No. l’? ~MT“ illl°l ~ MGGB

V.

.IOSEPH JAMES CAIN BENSON
a/k/a “Black”
a/k/a “Boston”

Defendant

\_/VV\.-/VV`\_/\_/

AFFIDAVIT OF OUTSTANI)ING ARREST WARRANT
PURSUANT TO FED.R.CRIM.P. 5(€)(3)

I, Matthew C. Knight, Special Agent, Federal Bureau of Investigation, do hereby make
oath before the Honorable Marianne B. Bowler, United States Magistrate Judge for the District of
Massachusetts, that upon knowledge coming to me in connection with my official duties and as
part of the official records of my office, l am advised that there is presently outstanding a Warrant
of arrest for one Joseph James Cain Benson on a criminal complaint issued by the United States
District Court for the Eastem District of Virginia on March 10, 2017, charging the defendant with
Use of a Firearm Resulting in Death, in violation of Title 18, United States Code, Sections

924(c)(10 and (J). I do hereby make oath that this wanant of arrest is outstanding in said District

on the basis of the information set out above. A copy of said WaiTant is attach;%
' W&hew C_ Knighr/ U
Special Agent

Federal Bureau of Investigation

 

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AO 442 (Rev. 11/11) ArrestWarrant

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UNITED STATES DIsTRICT CoURT

 

for the
Eastem District of Virginia
United States of America ’
V. ) . .

) Case No. 4517"‘13\

JOSEPH JAMES CA|N BENSON )
)
)
)

Defenda'nt
ARREST WARRANT
To: Any authorized law enforcement oEicer

Y_OU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrestea) JOSEPH JAMES CAIN BENSON ' r1 ` § § ,
who is accused of an offense or Violation based on the following document filed with the court:

 

CI Indictment IJ Superseding Indictment Cl Information E| Superseding Information \'i{Complaint
\'_'I Probation Violation Petition EI Supervised Release Violation Petition _' _CiViolation Notice |Il Order 'of the Court

This offense is briefly described as follows:

Title 18, United States Code, Section 924(]) - Murcler with a Firearm

. Date= MELJQ,_LQ/'? ,. » ..

l . . ,"" . -

_City and state: v Newport`News, ' i ence R. Leonard, U.S. Nlagistrate Judg§
Prin!ed name and title

 

 

 

 

 

 

 

This warrant was received on

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v - . *. r‘-.*

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Date:

 

 

Prz'nted name and title

 

 

